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                 UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA, )            CRIMINAL ACTION NO.
                          )
         Plaintiff,       )            1:21-CR-00119-CJN
                          )
v.                        )
                          )
GARRET MILLER,            )
                          )
                          )
         Defendant.       )
                          )

    DEFENDANT’S MOTION TO REVOKE MAGISTRATE JUDGE’S
                   DETENTION ORDER



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      Defendant, Garret Miller, pursuant to 18 U.S.C. § 3145(f), hereby moves

this court to revoke the detention order entered in this case.

                           I. PRIOR PROCEEDINGS

      A detention hearing was held in this case on January 25, 2020, before

Magistrate Judge Rebecca Rutherford in the United States District Court for the

Northern District of Texas. A transcript of that hearing is attached hereto as

Attachment A. Following the hearing, Magistrate Judge Rutherford orally found that

there were no conditions or combinations of conditions she could set for Mr. Miller’s

release that would reasonably assure the safety of the community and that would

reasonably assure Mr. Miller’s appearance as required. See Attachment A at 103-07.

      The Magistrate Judge entered her “Report of Proceedings Under Rules 5(c)(2)

and 5.1 and Ordered Entered Thereon,” in which she placed a check mark next to

“[t]he defendant shall be detained.” See Attachment B. Nevertheless, the Magistrate

Judge failed to enter a written order of detention as required by 18 U.S.C. § 3142(I)

of the Bail Reform Act. As explained by one Court:

      The provision of the Bail Reform Act in issue is unambiguous in its
      terms and the procedural safeguards incorporated into the Act must be
      strictly applied. United States v. Pavden, 759 202, 204-05 (2d Cir.
      1985) Accordingly, pursuant to the express language of the statute, a
      written detention order constraining the information [set forth in 18
      U.S.C. § 3142(I)] above must be issued whether a defendant, after a
      detention hearing, is ordered to be detained prior to trial and deprived

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       of his or her liberty during ht period of time in which the presumption
       of innocence is extremely important.

United States v. Quinnones, 610 F.Supp. 74, 75-76 (S.D.N.Y. 1985). Indeed, because

a written order of detention complying with 18 U.S.C. § 3142(I) was not entered by

the Magistrate Judge in Quinnones, the District Court concluded that it was

“compelled” to release the defendant. Id. at 76.

       Magistrate Judge Rutherford also ordered that Mr. Miller be removed

“forthwith” to the District of Columbia. Nevertheless, seven weeks later, Mr. Miller

has made it no further than Oklahoma

      II. MOTIONS TO REVOKE DETENTION ORDER GENERALLY

       A district court should review a magistrate judge’s detention order de novo.

United States v. Hunt, 240 F.Supp 3d 128, 132 (D.D.C. 2017) (Identifying supporting

cases from the Second, Third, Fourth, Fifth, Sixth, Seventh, Eight, Ninth, Tenth and

Eleventh Circuits).

       Pursuant to 18 U.S.C. § 3145(f), this review “shall be determined promptly.”

See United States v. Fernandez-Alfonso, 813 F.2d 1571, 1572 (9th Cir. 1987) (Thirty

days in resolving motion was not “prompt[].”)1



       1
        On February 2, 2021, Undersigned counsel had ordered the transcript of the detention
hearing held in the Northern District of Texas with a fourteen-day turnaround. Nevertheless, the
court reporter did not produce the transcript until on or about March 8, 2021.

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      A party is allowed to submit new evidence when moving to revoke a magistrate

judge’s detention order. See, e.g., United States v. Delker, 757 F.2d 1390, 1393-94

(3rd Cir. 1985); United States v. Boado, 835 F.Supp. 2d 920, 921 (E.D. Tex. 1993)

(Cobb, J.) (“On review of release and detention orders, the district court may take

additional evidence....”).

                 III. LEGAL STANDARDS FOR DETENTION

      Generally, pretrial release should only be denied for "the strongest of reasons."

Truong Dinh Hung v. United States, 439 U.S. 1326, 1329 (1978) (citation omitted).

“Detention until trial is relatively difficult to impose.” United States v. Singleton, 182

F.3d 7, 9 (D.C. Cir. 1999).

      “[T]he default position of the law . . . is that a defendant should be released

pending trial.” United States v. Taylor, 289 F. Supp. 3d 55, 62 (D.D.C. 2018)

(quoting United States v. Stone, 608 F.3d 939, 945 (6th Cir. 2010)). Indeed, “[i]n our

society liberty is the norm and detention prior to trial or without trial is the carefully

limited exception.” United States v. Salerno, 481 U.S. 739, 755 (1997)

      In order to justify detention, the government must establish by clear and

convincing evidence that no condition or combination of conditions will reasonably

assure the safety of the community, or, by a preponderance of the evidence, that no

condition or combination of conditions will reasonably assure the appearance of the

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defendant as required. See 18 U.S.C. § 3142(e-f). It is important to recognize, of

course, that it is not required a court be able to set conditions that guarantee a

defendant's appearance as required and the safety of the community only that it be

able to set conditions that "reasonably assure" them. See United States v. Fortna, 769

F.2d 243, 250 (5th Cir. 1985);United States v. Orta, 760 F.2d 887,891-92 (8th Cir.

1985) (en banc).

      A court must consider all available conditions under the Bail Reform Act

before it orders a defendant detained. Orta, 760 F.2d at 891-92.

                        IV. FACTUAL BACKGROUND

      Mr. Miller, who had been diagnosed as learning disabled while in school, lived

in the Dallas, Texas area prior to his arrest. At his detention hearing, evidence was

introduced that he entered the Capitol Building with a throng of others on January 6,

2021. In fact, he posted selfies online of himself inside the Capitol Building. See

Attachment A at 12. Nevertheless, FBI Agent Christopher Ford admitted the

following on cross-examination:

      Q.     Okay. Is fair to say that we just listened to a plethora of
             statements where Mr. Miller was very vociferous about his
             activities on January 6th? Is that a fair statement?

      A.     Yes.

      Q.     Okay. One of the things that seem common in a lot of his

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     statements is that he was acting peacefully that day and was
     unarmed, correct?

A.   Yes.

Q.   And you have actually no indication that he was armed that day.
     Is that a fair statement?

A.   That’s a fair statement, yes.

Q.   Okay. Other than the actual breach of the - - the Capitol
     Building, you have no indication that he wasn’t peaceful that day;
     is that correct?

A.   Correct.

Q.   Okay. We had various pictures of Mr. Miller in the Capitol
     Building, the rotunda area, correct?

A.   Yeah. Specifically the one with the statue looked like it was - - it
     was roughly in that area, yes.

Q.   And I’m sure you’re familiar that some protestors breached or
     moved beyond the rotunda to go to individual representatives
     buildings into the actual hall of the - - I believe it was the Senate
     or the House of Representatives, I forget, but one of the -- one of
     the two chambers?

A.   Yes.

Q.   You have absolutely no indication that Mr. Miller left the
     Rotunda Building.

A.   At this time, no.

Q.   Okay. And were you able to confirm the timing of his leaving the
     rotunda building with the statement issued by former President

                                     10
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             Trump asking his supporters to go home?

      A.     I’m not certain of that. I can’t answer that.

      Q.     Were you able to determine what time he left the Capitol
             Building?

      A.     No, sir. I can’t answer that, either.

      Q.     And as far as you know, the entire time he was in D.C. - - and,
             again, put the breach of the actual building aside - - he committed
             no violent acts.

      A.     Not to my knowledge. But, again, I’m not the case agent. As far
             as what I am privy to, no.

      Q.     Well, you’re the agent that the Government chose to have testify
             in this case, so I’m asking you, since you’re who’s presented.
             The Government has no indication that he did anything violent
             that day to your knowledge, correct?

      A.     To my knowledge, no.

See Attachment A at 53-54.

      In addition, the government offered several incendiary social media posts made

by Mr. Miller. For example, when Congresswoman Alexander Ocasio-Cortez posted

on her own Twitter feed “Impeach” on January 6th, Mr. Miller responded,

“Assassinate AOC”. See Attachment A at 13-14; Statement of Facts in Support of

Criminal Complaint at 7. Also, Mr. Miller was apparently misinformed and believed

that Ashli Babbitt (the rioter who was killed inside the Capitol) had, in fact, been a



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sixteen-year-old child. See Attachment A at 14; Gov’t Ex. 1 to Detention Hearing at

6. Mr. Miller became fixated on the death of this person he believed was a child, and

he then began posting vile posts aimed at the Capitol Police officer he believed was

responsible for killing the child, such as, “We going to get ahold of him and hug his

neck with a nice rope.” See Attachment A at 18, 25. Nevertheless, Agent Ford

admitted that the government had Mr. Miller under surveillance from on or about

January 13, 2021, until the day of his arrest on January 20, 2021, and Mr. Miller did

not take any apparent steps to act on any threats. See Attachment A at 59-60.

      At the time of his arrest, there is no indication that Mr. Miller was anything but

peaceful. Nevertheless, he did possess several firearms at his residence, along with

a ballistic vest, a bump cap, a gas mask, a crossbow,2 rope and a grappling hook. See

Attachment A at 27-28, 47-52.

      Mr. Miller offered the following proffer at the Detention Hearing:

      First: He was in Washington, D.C., on January 6th, 2021 because he
      believed he was following the instructions of former President Trump,
      who he viewed as his Commander in Chief.

      Public statements from Trump and others had him believing the election
      was stolen. Nevertheless, he now recognized the election is over, and
      he fully understands that Biden is the President of the United States.

      He wants the Court to know that he recognizes that Donald Trump is no


      2
          The crossbow was used by Mr. Miller for deer hunting. See, e.g., Attachment C.

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longer president following the swearing-in of President Biden and
would have no reason to follow the lead of Donald Trump.

Second: While he never intended to harm Congresswoman Ocasio-
Cortez or Senator Schumer nor harm any members of the Capitol Police
Force, he realizes his social media posts were completely inappropriate.
He wants to publicly apologize to Congresswoman Ocasio-Cortez,
Senator Schumer and the Capitol Police officers for his past social
media posts.

Third: While not an excuse for his actions on January 6th, Mr. Miller
wanted me to point out to the Court that he was, in fact, not armed when
he entered the Capitol, and he stayed in the Capitol’s Rotunda area,
unlike others. He left Washington, D.C., and started back to Texas
immediately after President Trump asked his supporters to go home.

Until very recently, he has never been very interested or involved in
politics. Recently, combined with the loss of his job and really his sense
of purposed, what Donald Trump had been saying about the election got
to him, and he felt that he had a need to support the then Commander in
Chief. He recognizes, however, that he, and he alone, are responsible
for his actions, and there are no excuses.

He wants the Court to know he accepts responsibility for his actions.
And towards that end, he has directed me, as his attorney, to explore
Rule 40 possibilities with the prosecutors of the District of Columbia.

He is also prepared to testify at any trial or congressional proceeding.

He wants you to know he comes from a good family, a supportive
family, former Eagle Scout and college graduate and has previously
been a law-abiding citizen.

He wanted me to assure the Court that if it sees fit to release him today,
he’s going to live with his parents, his third-party custodians, and will
abide by all conditions that will be set by the Court.



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Attachment A at 62-65.3

       Since the detention hearing, it should be noted that, on or about February 23,

2021, Mr. Miller broke his collar bone while playing soccer in the recreation yard.

Nevertheless, he is not scheduled to see an orthopedist until March 29, 2021, and that

is only if he is still in FTC Oklahoma on that date.

                                      V. DISCUSSION

       A. The Government Cannot Prove That There Are Absolutely No
       Conditions or Combination of Conditions Which Will Reasonably
       Assure Mr. Miller’s Appearance as Required.

       The entirety of the government’s evidence that Mr. Miller might be a flight risk

is his online media post that “it might be time for me to be hard to locate” after he was

told that “they are arresting people who got in the capitol [sic.]. See Attachment A

at 20. This and the fact that he owned a van with a bed and a power source. Id. at

46.4 Nevertheless, Agent Ford admitted at the detention hearing that Mr. Miller took

absolutely no steps to flee while he was under government surveillance from on or



       3
        Mr. Miller also directed his counsel to explore the possibility of entering a guilty plea in
the Northern District of Texas pursuant to Fed. R. Crim. P. 40. The government declined to
allow the case to proceed in the Northern District of Texas rather than have Mr. Miller shipped to
the District of Columbia.
       4
         The van had been converted into a camper by Mr. Miller and his father to use for hunting
trips and alike. Significantly, this was done long before January 6, 2021. As an example, a
picture taken by Mr. Miller’s friend, Keith Nelson, on a hunting trip on January 18, 2020- a year
before the incidents in question, show the van with the bed and power source. See Attachment C.

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about January 13, 2021 until the day of his arrest on January 25, 2021. Id. at 59-60.

Likewise, there is no evidence that he resisted arrest in any way.

       In contrast, Mr. Miller has lived in the Dallas area his entire life. He lives with

his younger brother and a roommate. Meanwhile, his older brother, Jason Miller, is

a high school math teacher who lives in the area with his wife. See Attachment A at

66-75. Mr. Miller’s 70 year-old father, a Navy veteran, and his mother also live in

the area. Id. at 76-78.5

       Mr. Miller’s father testified at the Detention Hearing that he and his wife would

act as third-party custodians for their son. See Attachment 79-80. Moreover, in the

event that the government is dissatisfied with Mr. Miller’s parents acting as third-

party custodians, his brother Jason and Jason’s wife are also willing to act as third-

party custodians and have Mr. Miller live in their home. See Letter from Jason Miller

(Attachment D)

       Mr. Miller also has no criminal history and there is nothing in his part that

would indicate he would fail to appear as required or obey all court orders. Indeed,

Mr. Miller has provided the Court with numerous letters attesting to his overall

character, his ties to the community and indicating that he would comply with all



       5
         When considering ties to the community that includes ties to where a defendant normally
resides. United States v. Townsend, 897 F.2d 989, 995 (9th Cir. 1990).

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court orders if released pending resolution of his case.

       Meanwhile, although the evidence against Mr. Miller is strong as to some of

the counts against him,6 it is also important to note the advisory sentencing ranges

under the United States Sentencing Guidelines (assuming acceptance of

responsibility) in the event that Mr. Miller is convicted of one or more of the various

counts:

       Count 1                 Level 8               0-6 months (Zone A)7

       Count 2                 Level 8               0-6 months (Zone A)8

       Count 3                 Level 12              10-16 months (Zone C)

       Count 4                 Level 8               0-6 months (Zone A)

       Count 5                 Level 10 or 12        6-12 months (Zone B) or 10-16 months
                                                     (Zone C)

       Count 6                 Level 12              10-16 months (Zone C)

       Count 7                 No Guideline          1 Year Maximum Sentence

       Count 8                 Level 2               0-6 months (Zone A)

       Count 9                 Level 2               0-6 months (Zone A)



       6
        The “wight of the evidence” is the “least important” of the consideration factors set forth
in 18 U.S.C. § 3142(g). United States v. Motamedi, 767 F.2d 1403, 1408 (9th Cir. 1985).
       7
           The most analogous Guideline is 2A2.4
       8
           The most analogous Guideline is 2A2.4

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      Count 10                 No Guideline        Six Month Maximum Sentence

      Count 11                 No Guideline        Six Month Maximum Sentence

      Count 12                 No Guideline        Six Month Maximum Sentence

      As noted above, it is not required that a court be able to set conditions that

guarantee a defendant's appearance, only that it be able to set conditions that

"reasonably assure" them. See Fortna, 769 F.2d at 250; Orta, 760 F.2d at 891-92.

Here, with due respect to the Magistrate Judge, there is a paucity of evidence that Mr.

Miller would not appear as directed. Despite one off-hand remark about making

himself “hard to locate,” the proof is in the pudding that he did not do so during the

week or more the government had him under surveillance, nor is there any events that

Mr. Miller took any actual steps to make himself hard to locate. Indeed, he was

sleeping in his bed when law enforcement arrived at this house to arrest him. Also,

Mr. Miller has lived in the Dallas area his entire life along with his two brothers and

his parents. Moreover, both his parents and older brother are willing to act as third-

party custodians.

      Simply put, given that “liberty is the norm,”9 the Court must consider all

available conditions under the Bail Reform Act before Mr. Miller is detained pending

the resolution of his case. Orta, 760 F.2d at 891-92. Likewise, the burden is on the


      9
          Salerno, 481 U.S. at 755.

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government to show that there is no condition or combination of conditions that can

be set that would “reasonably assure” Mr. Miller’s appearance as required. Here, if

there is any real concern that Mr. Miller would not appear as required, conditions

such as house arrest, home monitoring, and/or a third-party custodian would certainly

“reasonably assure” his appearance. While unnecessary, Mr. Miller could also be

ordered to turn over his van to a third-party during the pendency of the case.

      B. The Government Cannot Prove by Clear and Convincing
      Evidence That There Are Absolutely No Conditions or Combination
      of Conditions Which Will Reasonably Assure the Safety of the
      Community if Mr. Miller is Released on Strict Release Conditions.

              1. Introduction

      With regard to whether a defendant should be detained on grounds of

dangerousness, the government must establish clear and convincing evidence “that

no condition or combination of conditions will reasonably assure the safety of any

other person and the community,” 18 U.S.C. § 3142(f)(2). In other words, the

government must prove that pretrial detention is the only means by which the safety

of the community can reasonably be assured. United States v. Smith, 79 F.3d 1208,

1209 (D.C. Cir 1996). The evidence must prove that the defendant actually poses a

danger, not that he does so in theory. United States v. Patriaca, 948 F.2d 789 (1st Cir.

1991).



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             2. Mr. Miller

      In evaluating whether the government has sustained its heavy burden of

proving by clear and convincing evidence that absolutely no conditions could be set

guaranteeing the safety of the community from Mr. Miller, it is important to

distinguish between what Mr. Miller allegedly did do and what he clearly did not do.

      Mr. Miller did enter the Capitol building on January 6, 2021. In addition, Mr.

Miller did respond “Assassinate AOC” to Congresswoman Alexander Ocasio-

Cortez’s tweet to “impeach,” and he did make several vile and racially tinged threats

against a Capitol Police officer he believed shot and killed a sixteen-year-old girl.

      On the other hand, the evidence is that Mr. Miller simply walked into the

Capitol after the security had been breached. There is no evidence that Mr. Miller,

unlike many others, moved past the Rotunda or that he tried to enter the

Congressional chambers or offices. There is no evidence that Mr. Miller took a

weapon into the Capitol building. There is no evidence that Mr. Miller engaged in

any acts of destruction while in the Capitol Building. Finally, while Mr. Miller’s

online threats, especially toward the Capitol Police officer he wrongfully believed

shot and killed a sixteen-year-old girl were certainly vile and reprehensible, there is

absolutely no evidence that he took any affirmative steps to carry outs any acts of

violence against Congresswoman Alexander Ocasio-Cortez or the Capitol Police

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officer or anybody else.

       There is also no evidence that Mr. Miller, who in the past has been determined

to suffer from a learning disability, has any criminal record, nor is there evidence of

previous acts of violence. Moreover, at the detention hearing, his brother testified to

the improvement he had seen in his brother following his brother’s ban from certain

online platforms. See Attachment A at 61.

              3. Other Cases

       Mr. Miller’s actions can be contrasted with the actions of Burno Joseph Cua,

who was recently ordered released by Judge Moss. See United States v. Cua, 2021

WL 918255 (D.D.C. 2021) (attached hereto as Attachment E). Cua breached the

Capitol building twirling a black baton. Id. at *1. After he entered he attempted to

open doors to various rooms and made his way to the foyer of the Senate Chamber.

Id. There, he shoved aside a guard and entered the Senate Chamber and “sat ‘atop the

Senate dais in the chair previously occupied by former Vice President Pence with his

feet up on [] the desk.’ “ Id. Cua also made several social media posts calling for

“execution of public officials” as well as threatening “political violence,” a “blood

bath,” and expressing his desire for a “blood war.” Id. at *2, 5-6.10 Moreover, Cua



       10
         Judge Moss described Cua’s online postings as “chilling and violent” and “call[ing] for
the violent revolution against the duly elected representatives of the People.” Id. at *6.

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had “several previous encounters with law enforcement.” Ids. at *2. Nevertheless,

Judge Moss, guided by “the default rule favoring liberty” and the need for the

government to show more than a theoretical threat, revoked a detention order

previously entered against Cua by a Magistrate Judge in the Northern District of

Georgia.” Id. at *8.

      This Court revoked a detention order in United States v. Bisignano, No. 1:21-

CR-0036-CJN and ordered her released with high-intensity supervision. According

to the criminal complaint in that matter, Bisignano “entered the Capitol in at least two

separate locations and encouraged other rioters to enter as well.” She appeared on

video fighting with a police officer. Meanwhile, the government characterized her

as an “instigator, and an active participant in the violence” and she was heard

shouting into a bullhorn that the rioters “need weapons” while other rioters assaulted

police officers by spraying them with fire extinguishers. Nevertheless, this Court

revoked the detention order entered by a Magistrate Judge in the Central District of

California.

      In another case, a defendant was released who stole Speaker Pelosi’s laptop

and took steps to sell the laptop to Russia’s foreign intelligence service. See United

States v. Riley June Williams No. See No. 1:21-MJ-00099-RMM.

      In addition to the three cases discussed above, it is important to compare Mr.

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Miller’s case to cases of many other persons the government has charged in

connection with the Capitol Hill riots who have been released. In many of the cases,

defendants with more serious conduct- several of whom engaged in actual violence-

were released over the government’s objections or with the government not even

seeking detention. Attached is a list of fourteen such cases, including the Bisignano

case, that was previously compiled. See Attachment F.11

       Indeed, Mr. Miller, unlike many of the others in the cases described above and

in Attachment F, did not move past the Rotunda.12 There is no evidence that Mr.

Miller took a weapon into the Capitol Building, much less that he used a weapon;

unlike many of the others in the cases described above and in Attachment F.13 There

is no evidence that Mr. Miller engaged in any acts of destruction while in the Capitol



       11
          The list was initially contained in Cua’s Emergency Motion for Release from Custody
and Request for Detention hearing, based upon the facts contained in the Criminal Complaints of
those listed cases. Undersigned Counsel has personally reviewed the Criminal Complaints of the
listed cases to verify that they were accurately reported in Cua’s motion and to black out
comparisons to Cua’s case itself. It should be noted that the Motion to Revoke the Detention
Order in the case of United States Matthew Miller was heard before Judge Moss who ordered Mr.
Miller released.
       12
         See, e.g. 1) Cua- attempted to open doors to various rooms and made his way to the
Congressional chamber where he sat in the Speaker’s chair; 2) Jones- was seen right outside
Congressional chamber where Ashli Babbitt was shot; 3) Colt-Scaled the wall into the
Congressional chamber and sat in the Speaker’s chair; 4) Williams- broke into Nancy Pelosi’s
office where she stole the Speakers’ laptop to sell to Russia.
       13
         See, e.g. 1) Cua- baton; 2) Jones-flagpole used to break glass 3) Powell- battering ram;
4) Alberts- found on Capitol grounds with firearm.

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Building.14 Finally, there is no evidence that Mr. Miller engaged in any physical

confrontations; unlike many of the others in the cases described above and in

Attachment F.15

              4. Conclusion

       Mr. Miller does not attempt to defend his actions on January 6, 2021, nor his

social media postings. Indeed, at the detention hearing, he proffered his acceptance

of responsibility and regret for his actions in detail. See Attachment A at 62-65.

Nevertheless, he has no history of violence, and he did not engage in any acts of

violence in connection with the charged offenses, unlike many others who have

previously been released. Moreover, the government had him under surveillance for

approximately a week before his arrest and there is absolutely no indication that he

intended to act on any of his social media postings. Finally, at the time of his arrest,

law enforcement seized any weapons he possessed.

       Again, while some of Mr. Miller’s online postings were incendiary and vile,

they do not indicate by “clear and convincing evidence” that the Court is unable to

set any condition or combination of conditions that would reasonably assure the

       14
        See, e.g. 1)DeCarlo/Ochs-graffitied Memorial Door with “Murder the Media;” 2)
Powell-broke Capitol window valued at approximately $1,000.
       15
         See, e.g. 1) Cua- shoved guards; 2)Gossjankowski-tased officers; 3) Matthew Miller-
discharged fire extinguisher; 4) Leffingwel- punched law enforcement officers; 5) Capsel-fought
National Guardsmen; 6) Council- pushed female Capitol police officer.

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safety of any other person and the community. Indeed, in many cases where

defendants engaged in actual acts of violence on January 6th, courts were able to set

conditions for release that they believed would reasonably assure the safety of other

persons and the community. In contrast, Mr. Miller has not engaged in any actual acts

of violence. Certainly, various conditions that would prohibit his access to weapons,

prohibit his use of the internet, and restrict his travel could be set in order to

“reasonably assure” the safety of others and the community.

                          VI. PROPOSED RELEASE PLAN

       As discussed above, Mr. Miller submits the Court can set conditions or a

combination of conditions that would reasonably assure the safety of the community

and his appearance as required. See 18 U.S.C. § 3142(e-f). The conditions can, and

in at least some cases should, include:

       1. No internet access16

       2. No access to firearms

       3. Appropriate counseling

       4. Home monitoring

       5. Travel restrictions limited to the Northern District of Texas and the


       16
         Undersigned Counsel believes this condition is particularly appropriate given the change
of Mr. Miller’s behavior, for the better, observed by his brother following his ban from various
social media platforms. See Attachment A at 69-71.

                                               24
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      Eastern District of Texas except for court appearances

      6. Home detention

      7. Third party custodians

      8. Turning over his van to a third-party during the pendency of the case.

                               VII. CONCLUSION

      This Court should default to liberty. This is especially true when Mr. Miller’s

case is compared to similarly situated cases and where, as here, the Magistrate Judge

did not comply with the provisions of 18 U.S.C. § 3142(I). As such, Mr. Miller

respectfully requests this Court revoke the Magistrate Judge’s detention order and

order his release on any and all conditions that Court believes appropriate.




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                                         Respectfully submitted,


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                        CERTIFICATE OF SERVICE

      I, F. Clinton Broden, certify that, on March 19, 2021 I caused a copy of the

above document to be served by electronic means on:

      Elizabeth C. Kelley
      United States Attorney's Office
      555 4th Street, N.W.
      Washington, DC 20350



                                                  /s/ F. Clinton Broden
                                                  F. Clinton Broden




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